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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
CORNEL WEST AND MELINA               :
ABDULLAH, et al.,                    :
                                     :    CIVIL ACTION
      Plaintiffs,                    :    No. 24-1349
                                     :
      v.                             :
                                     :
PENNSYLVANIA DEPARTMENT              :
OF STATE, et al.,                    :
                                     :
      Defendants.                    :
____________________________________:

                                        ORDER

      AND NOW, this ____ day of ________________ 2025, it is hereby ORDERED that

Defendants’ Motion to Dismiss Amended Complaint is GRANTED. It is further ORDERED that

all claims are hereby DISMISSED.



                                        IT IS SO ORDERED:


                                        _________________________________
                                        Ranjan, J.
